               Case 4:22-cr-00199-SHL-HCA Document 74-9 Filed 02/01/23 Page 1 of 2


Leemkuil, Ryan (USAIAS)

From:                 Klinefeldt, Nicholas A. <nick.klinefeldt@faegredrinker.com>
Sent:                 Thursday, January 12, 2023 2:18 PM
To:                   Leemkuil, Ryan (USAIAS); Shotwell, Mikaela (USAIAS)
Cc:                   Kohler, Kevin T. (OM) (FBI)
Subject:              [EXTERNAL] RE: Brad Wendt: City Council Meeting


Ryan/Mikaela,

We just filed our motion to partially lift the firearms restriction – it is the least restrictive I could think of to still allow
him to perform his duties per the City Council’s reinstatement. Further, Brad is working with the Probation Officer today
and is getting the firearms, ammo, etc. out of his house.

As for the restriction on witnesses, two things:

First, I think there are multiple issues with respect to the review of his cell phone. As you know, it contains attorney‐
client communications not just with me but with several other attorneys as well as information protected by Garrity.

Second, we remain concerned that not only was Garrity information proffered to the Court on Tuesday but that the
scope and taint of Garrity information could be very broad here, including interviews or testimony of City Council
members. Before any further evidence that could contain or be derived from information from City Council members,
the Mayor, or the City Attorney. Specifically, after the raid and as you would expect, the City started asking and receiving
information from Brad about this matter. After that point, we believe there is a likelihood that information could be
tainted by Garrity protected communications as well as attorney‐client communications.

Until these issues can be resolved by the Court, we are objecting to any use or review (including any purported taint
team review) by any law enforcement agency of any information obtained after August 31, 2022.

We are happy to work with you on witness restrictions and hereby request your proposal so that we can mutually
propose something to the Court if possible.

Thank you.

Nick

From: Leemkuil, Ryan (USAIAS) <Ryan.Leemkuil@usdoj.gov>
Sent: Wednesday, January 11, 2023 5:23 PM
To: Klinefeldt, Nicholas A. <nick.klinefeldt@faegredrinker.com>; Shotwell, Mikaela (USAIAS)
<Mikaela.Shotwell@usdoj.gov>
Cc: Kohler, Kevin T. (OM) (FBI) <ktkohler@fbi.gov>
Subject: RE: Brad Wendt: City Council Meeting


This Message originated outside your organization.

                                                                                                          GOVERNMENT
                                                                                                            EXHIBIT
Nick,
                                                                                                                 8
                                                                                                             4:22-cr-199
                                                                1
                Case 4:22-cr-00199-SHL-HCA Document 74-9 Filed 02/01/23 Page 2 of 2

Kevin Kohler previously planned to attend the meeting this evening, and he will be there. Kevin will simply be there to
observe. He will not take questions or make statements to the council. Thanks.

Ryan

From: Klinefeldt, Nicholas A. <nick.klinefeldt@faegredrinker.com>
Sent: Wednesday, January 11, 2023 4:14 PM
To: Leemkuil, Ryan (USAIAS) <RLeemkuil@usa.doj.gov>; Shotwell, Mikaela (USAIAS) <MShotwell@usa.doj.gov>
Subject: [EXTERNAL] Brad Wendt: City Council Meeting

Ryan/Mikaela,

I am writing to request that a federal agent not appear at the city council meeting tonight. In particular, my concern is
that it is not a large space and the presence of a federal agent could be very intimidating to city council members. In
addition, if one appears, I imagine someone may ask him/her questions. We want to avoid anything that could be
considered interference with Mr. Wendt’s employment contract.

Thank you for your consideration.

Nick

Nicholas A. Klinefeldt
Partner
nick.klinefeldt@faegredrinker.com
Connect: vCard

+1 515 447 4717 direct / +1 515 321 3850 mobile

Faegre Drinker Biddle & Reath LLP
801 Grand Avenue, 33rd Floor
Des Moines, Iowa 50309, USA

This message and any attachments are for the sole use of the intended recipient(s) and may contain confidential and/or privileged
information. Any unauthorized review, use, disclosure or distribution is prohibited. If you are not the intended recipient, please contact
the sender by reply email and destroy all copies of the original message and any attachments.




                                                                     2
